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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
_____________________________________
MARIA ROSENGREN                        )    3:10-cv-00888(CFD)
       Plaintiff                        )
                                       )
v.                                     )
                                       )
ZEE IMPORTS, INC., d/b/a SAAB OF        )
MILFORD, ALLY FINANCIAL INC. f/k/a     )
GMAC, INC., and CHASE BANK USA, NA      )
a/k/a FIRST USA BANK,                  )
       Defendants                       )   JULY 16, 2010
_____________________________________ )

                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. Rule Rule 41(a)(1)(A)(i), the plaintiff, Maria

Rosengren, through her attorney, hereby gives notice that the claims of the above-

entitled action shall be dismissed, without costs or attorney’s fees, as to defendant

CHASE BANK USA, N.A. a/k/a FIRST USA BANK only.

                                            Plaintiff, Maria Rosengren

                                            By /s/Daniel S. Blinn
                                            Daniel S. Blinn (ct02188)
                                            Consumer Law Group, LLC
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                                      CERTIFICATION

       I hereby certify that on this 16th day of July, 2010, a copy of foregoing
Notice of Dismissal was filed electronically and served by mail on anyone unable
to accept electronic filing. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system or by mail to anyone unable to
accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.

                                              /s/Daniel S. Blinn
                                              Daniel S. Blinn
